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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW JERSEY


                                         Case Nos. : 3:09-CV-01802 (MAS)(TJB)
                                                    3:10-CV-00276 (MAS)(TJB)

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        CHURCH 4 DWIGHT CO. , INC. 'S MEMORANDUM IN
       SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT
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                                              INTRODUCTION
            Church   & Dwight Co. , Inc. ("C&D") and SPD Swiss Precision Diagnostics GmbH

    ("SPD") both market home pregnancy        and home ovulation test kits. (Feldman Dec. $3) C&D's

    flagship brand is "First Response"    ("FR"); SPD's    is "Clearblue.   " SPD and   one   of its   two parent

    companies, Inverness Medical Innovations,      Inc.   ("Inverness" ) (now   called Alere, Inc. ), dominate

    the home pregnancy test market. Their only competitor is C&D. (Id. $3)

            This litigation is ostensibly about alleged false advertising, but it is really part of a larger

    campaign    of anti-competitive conduct   by SPD and Inverness to stifle C&D's gains in the home

    pregnancy test market   —gains   that C&D has achieved because it has better products.             Indeed, in

    2008 the Federal Trade Commission ("FTC") charged Inverness with engaging in unlawful

    conduct designed to injure C&D in the market for "digital" home pregnancy tests. (Vinti Dec.

    Exs. 2 and 3) Inverness opted to settle the FTC's charges, rather than defend against them. (Id.

    Ex. 2 and 4)

            This litigation is wholly consistent with the anticompetitive       conduct investigated by the

    FTC. When SPD launched this litigation, C&D had been making the core advertising challenged

    by SPD in the First Action for years. That advertising      statement is one promoting the ability         of

    two FR pregnancy test kits to detect pregnancy five days before the day a woman misses her

    menstrual   period. That statement had been included on the packaging for the then-marketed               FR

    "analog" pregnancy test ("FR Analog 5-day") since at least as early as April 2006, nearly three

       The above-captioned actions, Case No. 09-01802 (the "First Action" ) and Case No. 10-00276
    (the "Second Action" ), are consolidated for pretrial purposes. The First Action was filed by SPD
    in the United States District Court for the Northern District of California and transferred to this
    Court on Church & Dwight's motion, which SPD opposed.
       Church & Dwight submits the following accompanying declarations: Declaration of Stacey
    Feldman ("Feldman Dec. "); Declaration of Baldassare Vinti ("Vinti Dec. "); the Declaration of
    Albert Nazareth, Ph. D. ("Nazareth Dec."), Declaration of Pasquale Patrizo, M. D.("Patrizio
    Dec."), Declaration of Ann Gronowski, Ph. D. ("Gronowski Dec."); and, Declaration of Anthony
    Scialli, M. D. ("Scialli Dec.")
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   years before SPD filed the First Action in January 2009. (Feldman Dec. $5)             C&D had also

   been making the same advertising      statement on the packaging for its FR "digital" pregnancy test

   ("FR Digital 5-day") for    nearly a year before the First Action was brought by SPD challenging

   that statement.    (Id. )

            SPD waited until two days after the end of the public comment period for the Consent

   Order that its parent Inverness entered into with the FTC before initiating this litigation and

   moving for an "emergency" injunction.        (Vinti Dec. Ex. 4) The relief that SPD so urgently

   sought   —after   sitting on its purported claims literally for years while Inverness worked out a

   settlement with the FTC     —was   to pull FR Digital 5-day off store shelves and effectively drive

   C&D out of the market for digital home pregnancy tests. That was precisely the goal the FTC

   had charged Inverness with illegally attempting      to achieve. (Id. Ex. 2 and 3) Doubtless, SPD

   chose to wait until the ink was dry on the Consent Decree before filing a suit that the FTC would

   see as one more step to cripple Inverness'      and SPD's only competitor.

            Consistent with its anti-competitive    aims, aAer this litigation began SPD made known

   that it would try to prevent C&D from marketing FR Analog 6-day, even though that product had

   been cleared by the U. S. Food & Drug Administration        ("FDA, " which regulates home pregnancy

   tests) for the intended use of detecting pregnancy as early as 6 days before the day       of a woman'   s

   missed menstrual      period ("MMP"). SPD and Inverness offer no comparable product to

   consumers (Feldman Dec. $7), and they plainly saw C&D's          "6 day"   test with its advanced

   technology as a threat to their market domination.      In the face   of SPD's   threat to sue, C&D


     FR Analog 5-day was replaced in early 2010 with an improved FR analog pregnancy test ("FR
   Analog 6-day"). (Id. $7) That product is advertised by C&D as being able to detect pregnancy 6
   days before the day a woman misses her period. (Id. )
      FR Analog 6-day is the only product on the market cleared for that use. (Id. ) FR Digital 5-
   day and FR Analog 5-day were cleared by the FDA for the intended use of detecting pregnancy              5
   days before MMP.
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   commenced the Second Action seeking a declaratory judgment that its advertising                    of FR Analog

   6-day's ability to detect pregnancy 6 days before MMP was truthful and lawful. SPD

   counterclaimed       and brought a second preliminary        injunction motion.

           Tellingly, after much briefing and two hearings, SPD abandoned                its preliminary

   injunction motions before Judge Wolfson could render a decision. However, as was reflected in

   the proposed orders SPD filed in connection with those motions, SPD seeks through this

   litigation to bar C&D from making any advertising              statement that: (a) FR Analog 6-day is

   "accurate or effective at detecting pregnancy when used six days prior to" MMP; and (b) C&D's

   5-day tests are "accurate or effective at detecting pregnancy when used five days prior to" MMP.

   (Vinti Dec. Ex. 5 and at      $1) An injunction        barring C&D from making those claims would,           of

   course, dramatically      impair its competitive position.       SPD has therefore poured enormous effort

   and expense into this lawsuit in an attempt to achieve through litigation the very perpetuation                   of

   its and Inverness'     market dominance that had sparked the FTC's concern.

           Now, after two (abandoned) preliminary junction motions, countless party and expert

   declarations, document discovery that involved exchanging well over a million pages, 18 fact

   depositions, 23 expert reports, 9 expert depositions, countless discovery motions and legal fees

   and costs running      in the millions   of dollars,   what, exactly, can SPD point to in the record to

   prove (as is its burden) that C&D's advertising           statements are false? After all this time, money

   and effort, SPD relies solely on the testimony           of a single "expert, " hired for this   litigation, who

   opines, without any scientific basis or support, that C&D's methodology                for estimating the day

   of a woman's expected        menstrual    period ("EMP", which is the day before the day           of MMP)    is

   incorrect. According to that contrived theory, C&D allegedly exaggerates the number                     of days

   before MMP its pregnancy tests can detect pregnancy.
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            As we demonstrate          below, such a challenge to C&D's methodology                  is not even properly

   before this Court in light        of FDA's clearance of the FR products to be           marketing      for their

   intended use (i.e. , to detect pregnancy as early as 5 and 6 days before MMP). Put simply, SPD is

   asking this Court to second-guess FDA's judgment.                 The cases make clear that this Court should

   not indulge that effort. But even putting aside the impropriety               of SPD's     attempt to have this

   Court countermand            the FDA, the naked opinion     of its   expert cannot possibly sustain its burden            of

   proof. As we show in great detail in our companion motion under Daubert v. Merrell Dow

   Pharmaceuticals,        Inc. , 509 U. S. 579 (1993) and its progeny, SPD's expert's opinion is

   inadmissible      and, under Third Circuit precedent, therefore cannot raise a triable issue                of fact.

                   PRELIMINARY STATEMENT AND SUMMARY OF ARGUMENT

            The law in this Circuit is clear that it is the burden          of the   party challenging      an advertising

   statement affirmatively         to prove falsity, not merely that the substantiation         for the statement is

   inadequate.      Simply put, it is not sufficient for the plaintiff to argue that the advertiser's

   substantiation     "isn't good enough.     " Moreover,     a challenged advertising statement can only be

   "literally false"    if it   is both unambiguous    and false.    If a challenged     statement reasonably can be

   interpreted,     in context, as conveying multiple messages at least one              of which     is truthful, then the

   challenger must show that a substantial            percentage    of consumers     actually perceived the allegedly

   false message.      Such evidence almost always takes the form             of a consumer perception          survey.

            Below and in our Daubert motion we address SPD's core allegation that C&D's 6-days

   and 5-days before MMP advertising             statements are false. Although          it is not   C&D's burden to

   prove that those statements are substantiated,           the fact is they are well substantiated         by multiple

   clinical trials, including the study results C&D submitted to FDA in connection with FDA's

   clearance      of the FR pregnancy tests     for the intended use      of detecting    pregnancy 6 and 5 days
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   before MMP. The results       of the clinical    studies provided to FDA were confirmed by a

   subsequent     independent   study designed and supervised by Dr. Anthony Scialli, a professor at the

   George Washington       and Georgetown       University   Schools of Medicine.

           In their respective clinical testing, C&D and SPD each used the urines            of newly   pregnant

   women to study the efficacy      of their   pregnancy tests in detecting pregnancy on days prior to the

   day   of EMP   and MMP. Because women do not have a menstrual                period during the menstrual

   cycle in which they become pregnant, any study to assess pregnancy test efficacy prior to the day

   of EMP necessarily     must utilize a method to estimate the day        of EMP. Both    parties use a

   method that relies on the detection     of a "biomarker,     " a hormone    known as luteinizing   hormone

   (or "LH" for short). SPD contends, however, that C&D's method of estimating the day of EMP

   is materially different than the method Dr. Barnhart purportedly            favors. But for SPD to prove

   that C&D is falsely claiming pregnancy detection efficacy 5 or 6 days before MMP, it must show

   that C&D's method for estimating the days           of EMP   is wrong not merely that it is differentPom

   the method Dr. Barnhart claims to prefer. SPD cannot sustain that burden.

           C&D's method of estimating the day of EMP is supported by a highly credentialed expert

   —Dr. Pasquale     Patrizio, a reproductive      endocrinologist   at Yale University   —who   opines, based

   on a wealth    of peer-reviewed scientific      literature discussed in our Daubert motion, that this

   method is reasonable and appropriate.         However, as noted, SPD expert, Dr. Kurt Barnhart, opines

   that C&D's method      "is a departure from accepted scientific standards" (Vinti Dec. Ex. 11 at $5)

   Dr. Barnhart claims that C&D's method results in "inflated" pregnancy detection rates in its

   clinical testing and that, if C&D had estimated the day           of EMP   using the method preferred by

   Dr. Barnhart, the results of C&D's clinical testing would actually prove that FR Analog 6-day is

   not effective in detecting pregnancy 6 days before MMP and FR Digital 5-day is not effective in
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    detecting pregnancy 5 days before MMP.
                                                          '   This is the crux   of SPD's case   that C&D's 5-days and

    6-days advertising        statements are false.

             Dr. Barnhart's testimony fails to present a genuine issue of material fact for two distinct

    reasons. First, as we show in our accompanying                 Daubert motion, Dr. Barnhart's opinion is not

    based on reliable scientific methods and principles.               Indeed, among other things, there is no

    evidence that it is generally accepted in the relevant scientific community,                 or supported by the

    peer reviewed literature he purports to rely on or by any other literature disclosed during the

    expert discovery phase        of this   litigation.   Under Fed. R. Evid. 702 and the Supreme Court and

    Third Circuit cases construing it, Dr. Barnhart's mere say-so that C&D's method is wrong is

    insufficient.     Dr. Barnhart and SPD must present facts demonstrating                 a consensus in the field   of

    reproductive     endocrinology     that C&D's method for determining              the day   of EMP   is scientifically

    inappropriate.      They have failed to do so (as we show in detail in the accompanying                 Daubert

    motion), rendering Dr. Barnhart's opinion inadmissible.                 Accordingly,      SPD cannot raise a

    genuine issue      of material fact as to C&D's correct          statements that FR Digital 5-day and FR

    Analog 5-day can detect pregnancy as early as 5 days before MMP, and that FR Analog 6-day

    can detect pregnancy up to 6 days before MMP.

             In addition, and wholly apart from Daubert, the case law prohibits SPD from asking this

    Court to countermand         FDA's clearance of FR Digital 5-day and FR Analog 5-day for the

    intended use     of detecting    pregnancy as early as 5 days before MMP and FR Analog 6-day for the

    intended use     of detecting    pregnancy as early as 6 days before MMP.               If SPD wishes   to challenge

    the efficacy     of the   products for their intended uses as cleared by the FDA, the forum in which to

    do so is the FDA, not this Court. This is discussed in Point II                of the   Argument below.




     In his expert reports, Dr. Barnhart does not make this argument regarding FR Analog 5-day.
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             SPD alternatively       contends that, even   if C&D can    make      a 6 days before MMP        statement

    for FR Analog 6-day or a 5 days before MMP statement for FR Digital 5-day, the specific

    statements C&D makes on its product packaging constitute false advertising.                   These contentions

    also fail to raise a genuine issue      of material fact, as   we show in Points III and IV       of the

    Argument below. Specifically, SPD alleges that the statement on the FR Analog 6-day package,

    "THE ONLY TEST THAT TELLS YOU 6 DAYS BEFORE YOUR MISSED PERIOD[. ]                                              See

    side panel for details"   (the "Tells You statement" ), constitutes a literally false message that any

    woman using the product 6 days before MMP will know for certain whether or not she is

    pregnant.    To support this charge, SPD relies on a consumer perception survey conducted by

    SPD expert Dr. Eugene Ericksen (the "Ericksen survey"). Here again, SPD's arguments fail.

             First, when viewed in the context       of the   product packaging on which it appears (as Third

    Circuit law requires it to be viewed), the Tells You statement is not, as a matter              of law,    either

    literally false or misleading.      For that reason alone, the Ericksen survey must be excluded (as we

    detail in our Daubert motion).

             A second reason, also detailed in the Daubert motion, is that             —just   as Judge Wolfson

    held when she excluded the last false advertising           survey Dr. Ericksen prepared for litigation in

    this District   —the Ericksen      survey is inadmissible    because it is neither objective nor

    scientifically reliable. Finally, as further detailed in our Daubert motion, even              if the Ericksen

    survey were admissible, the only reasonable interpretation            of its   results is that they affirmatively

    disprove that charge that the Tells You statement deceives consumers.

             Equally meritless is SPD's challenge to the statement on the FR Digital 5-day package,

    "ACCURATE DIGITAL RESULTS. . . 5 DAYS SOONER[. ] See side panel for details about early testing" (the

    "Accurate Digital Results statement").         SPD alleges this statement also conveys an unambiguous
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    message that a woman using the product will know for certain whether or not she is pregnant.

    However, as with the Tells You statement, the Accurate Digital Results statement is not a literal

    message       of perfect or near-perfect accuracy. To the contrary,     the statement is qualified by the

    information      about the product's accuracy at 5 days before MMP, which is fully set forth on the

    side panel to which consumers are directed.          SPD did not even attempt to proffer consumer

    survey evidence to support its interpretation.        Thus, because it is not a literal advertising

    statement, SPD's challenge to it cannot survive summary judgment.

              SPD also challenges as false the statement "Unsurpassed Accuracy" on the FR Analog 6-

    day package. It is not at all clear what SPD contends is the false message this statement

    supposedly      conveys, as SPD has suggested that it means different things at different times in this

    litigation.    In any case, at most, the statement is susceptible to different reasonable

    interpretations,    one   of which   is that the product has unsurpassed   accuracy when used 6 days

    before MMP, the only time point mentioned anywhere on the packaging.                 Given that there is no

    other product that is FDA cleared to detect pregnancy 6 days before MMP, SPD cannot meet its

    burden   of proving    that any other competing product is more accurate at that time point (and,

    hence, that the "Unsurpassed         Accuracy" statement is false). In any case, as Dr. Ericksen

    conceded, his survey did not prove that "Unsurpassed           Accuracy" conveys any false message.

             SPD's pleadings also challenge as false and misleading a number of other advertising

    statements about C&D's FR home pregnancy and home ovulation test products.                   Each     of those

    challenges should be dismissed on summary judgment because (a) they are not literal claims and

    SPD has no consumer survey evidence to prove they are misleading, (b) SPD has no evidence to

    prove them false, and/or       (c) they are non-actionable puffery. This is discussed at Points V and

    VI of the Argument below.
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                                          STATEMENT OF FACTS
    The Parties and Their Products

            C&D (headquartered    in Princeton,   NJ) and SPD (based in Europe and a joint venture

    between Inverness and Procter k, Gamble) are the two leading marketers           of home     pregnancy and

    ovulation tests. (Feldman Dec. $/2 and 3) Home pregnancy tests are intended to tell a woman

    whether or not she is pregnant.    Home ovulation tests are intended to help women become

    pregnant by identifying the days during their menstrual       cycle in which they are most likely to

    become pregnant.    (Nazareth Dec. $4)

            Home pregnancy tests function by detecting the presence         of a placental    hormone found in

    urine called human chorionic gonadotropin      (referred to either by the acronym "hCG" or as the

    "pregnancy hormone"). (Nazareth Dec. $5) A woman uses the products either by placing the

    test stick in her urine stream or by dipping the test stick into a cup containing her urine. (Id. $7)

    Both parties market two types     of pregnancy tests,   called analog (also referred to as "visual" ) and

    digital. (Id. $4) Analog products display results using lines or symbols (i. e. ,      "+"or "-"). (Id. )

    Digital products display results with words. (Id. )

            Ovulation tests work by a different means. A woman's menstrual            cycle is comprised of

    two phases, the follicular phase and the luteal phase. (Patrizio Dec. /[4) The luteal phase is

    generally considered to begin when a woman ovulates (i. e. , when a woman's egg is released

    from her ovary). (Id. ) The time during a woman's menstrual          cycle during which sexual

    intercourse is most likely to result in conception is the period immediately       prior to and including

    ovulation.   (Id. ) Because it is not possible to determine precisely when a woman ovulates by

    testing urine samples, researchers have looked for other markers        of ovulation     present in a

    woman's urine that would provide a woman seeking to become pregnant with information                    as to

    when she is likely to be most fertile. (Id. ) Over time, a consensus has developed that a good
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    predictor     of ovulation   is a substantial   elevation over baseline levels      of LH. (Id. )   Home

    ovulation tests detect this rise, or "surge,       " in LH levels      to predict when a woman is likely to

    ovulate.    (Id. )

    Clinical Testing of Home Pregnancy Test Products' Ability to Detect Early Pregnancy

               The ability   of home    pregnancy tests to detect hCG in the urines          of pregnant    women is

    principally    assessed through clinical testing using urines given once daily by women attempting

    to become pregnant.          (Nazareth Dec. $9) In a menstrual          cycle in which a woman becomes

    pregnant, she will not have her menstrual           period. (Patrizio Dec. $9) Thus, since the purpose             of

    the clinical studies is to assess the efficacy       of one       or more pregnancy tests in detecting hCG in

    the days prior to the day       of the donor's EMP/MMP,             it is necessary for the party conducting the

    study to utilize an appropriate          means for estimating the day      of EMP/MMP.        (Nazareth Dec. $9)

               The methods both parties have used to estimate the date              of EMP/MMP       derive from a

    convention widely accepted by reproductive              endocrinologists.      This convention is that the day of

    EMP is generally 14 days aAer ovulation.             (Patrizio Dec. $6) In like manner, because (also by

    convention) the day       of MMP     is the day after the day       of EMP,   the day   of MMP   is generally

    considered to be 15 days aAer ovulation.            (Id. )

               It is widely recognized by endocrinologists            that a significant rise in LH compared to a

    woman's baseline level         of that   hormone is a reasonable predictor       of impending    ovulation.     (Id.




                                                 rine sample donated by each study subject during the

    menstrual     cycle in which she became pregnant.            (Nazareth Dec. $10) For each subject, C&D has

    selected the daily urine sample in which the LH level is at its highest, i. e., "peak, value
                                                                                                        "
    compared to all      of her other   daily urine samples as the linchpin for estimating her day            of EMP.

    (Id. ) In other words, in its clinical studies, C&D estimates the day of EMP for each woman by


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    adding 15 days to the day on which her LH level was at its peak value. (Id. ) As noted above,

    this method is, in the opinion        of Yale's Dr. Patrizio, a reasonable    and appropriate   method for

    estimating the day      of EMP because (as the scientific        literature discussed in our Daubert motion

    shows) LH peak generally precedes ovulation by close to a day and ovulation is generally 14

    days prior to the day     of EMP. (Patrizio Dec. $9)

              As is detailed in C&D's accompanying              Daubert motion, Dr. Barnhart opines that C&D's

    method is wrong because, he claims, 15 days should be added not to the LH peak but rather to

    the day on which LH levels first begin to rise above baseline (generally known as "the LH surge

    onset"). In the accompanying Daubert motion, we explain why this opinion is inadmissible.

    Suffice it to say here that his opinion is not based on a permissible reading of any scientific

    literature or generally accepted practice or principles.           It is an opinion based solely on his say-so,

    as part   of his   engagement     as a litigation expert.

    FDA's Regulation of Home Pregnancy Tests and Its Clearance of the FR Tests

              The parties' home pregnancy test products are regulated by the FDA as "Class II medical

    devices. " (Nazareth Dec. $11) The Medical Device Amendments                    of 1976, 21 U. S.C. $360c et

    seq. , require any party seeking to market a Class II device to file a "Premarket Notification"

    (commonly known as a            "510(k)"submission)     with the FDA. See 21 U. S.C.        )360(k). The 510(k)

    submission     must demonstrate       that the device to be marketed is "substantially      equivalent" to an

    existing legally marketed device (known as a "predicate device"), as described in 21 C.F.R. )

    807.92(a)(3). In deciding whether a device is substantially equivalent, the FDA considers the

    applicant's proposed statement          of intended   use for the product. See 21 C.F.R. ) 807.92(a)(4),

    (5).   When a determination        of substantial equivalence     requires the assessment    of performance or

    efficacy data, the FDA also requires the applicant to include supporting clinical testing data in

    the 510(k) submission.          21 C.F.R.   ) 807.92(b).

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            During the course      of a nearly three   year application process beginning in 2006, the FDA

    carefully scrutinized the efficacy        of FR Analog   6-day for that product's proposed intended use,

    namely to detect hCG as early as 6 days before MMP. (Nazareth Dec.              $19) The FDA's review

    of the clinical   studies, protocols and data submitted by C&D for FR Analog 6-day was extensive

    and proactive.     (Id. )$19-23) C&D had numerous telephone conferences and meetings with FDA

    scientific staff and senior officials to discuss the substantiation     of for the product's   proposed

    intended use statement.       (Id. $20)

            A key component        of the 510(k) submission consisted of clinical    studies showing that FR

    Analog 6-day is effective in detecting hCG as early as 6 days before MMP. (Id. )$21-22 and Ex.

    J at CDSPD0191582) These studies showed that FR Analog 6-day detected hCG in 68% of

    pregnant women's urines 6 days before MMP (which is 5 days before EMP) when the test was

    read by inexperienced      test readers; when read by experienced laboratory technicians, the positive

    detection rate at 6 days before MMP was 78%. (Id. )

            In its    510(k) submission,      C&D explicitly disclosed that it estimates the day of EMP by

    adding 15 days to the day      of peak LH concentrations:

            The day corresponding to the sample with the highest hLH (ALH peak) was
            designated as the day of ovulation.


            The OV+15 day would then be the day of the expected period, and the OV+16
            day would be the day of the missed period.
    (Id. $25 and Ex. J at CDSPD0191650-51)(emphasis added).

            The methodology        C&D explicitly disclosed to the FDA is precisely the methodology Dr.

    Barnhart claims is improper.         In any case, knowing exactly how C&D estimated the day         of EMP

    and the results    of the clinical   studies employing this methodology,    the FDA cleared FR Analog

    6-day for sale with the following intended use:




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              The FR Early Result Pregnancy Test is an in vitro diagnostic home use test
              device intended for the early detection of pregnancy. The test may detect the
              pregnancy hormone (hCG), in some cases, as early as 6 days before the missed
              period (5 days before the expected period).
    (Id. Ex. I at CDSPD0067405)

              In December 2006, C&D filed a 510(k) submission           with the FDA seeking clearance to

    market FR Digital 5-day. (Nazareth Decl. $14) A key component              of C&D's 510(k) for FR

    Digital 5-day was a clinical study conducted by C&D that evaluated FR Digital 5-day's ability to

    detect hCG at various time points, including 5 days before MMP. (Id. & Ex. G at CDSPD178)

    In the study,   FR Digital 5-day detected pregnancy      in   80% of the tested urine samples of pregnant

    women taken 5 days before MMP. (Nazareth Decl. /$14 and 24-27 and Ex. K)

              The FDA cleared FR Digital 5-day for sale in May 2007. (Id. $6) FDA's clearance letter

    included an "Indications for Use" statement that FR Digital 5-day was "intended for the early

    detection   of pregnancy   by the lay user up to five (5) days sooner than the day    of the   missed

    period (four (4) days before the day of the expected period).
                                                                        " (Id. at $15 & Ex. H)     (emphasis

    added).

              The results of the extensive clinical testing submitted to FDA by C&D have since been

    confirmed by an independent      study run by Dr. Scialli,     of Georgetown   and George Washington



      C&D decided to be very conservative in how to portray the study results on the FR Digital 5-
    day label. Thus, as an alternative to the 80% positive detection rate result at 5 days before MMP,
    C&D treated as positive results only those samples for which FR Digital 5-day detected a
    concentration of hCG above a particular threshold. (Id. $6 and Ex. K) At the 5 days before
    MMP time point using this conservative calculation, FR Digital 5-day detected hCG in 58% of
    the urine samples 5 days before MMP. (Id. ) C&D disclosed both the 80% and 58% figures to
    the FDA but proposed, and the FDA accepted, that only the 58% figure appear on the package
    label. (Id. )
      FR Analog 5-day was also cleared by FDA for the intended use of detecting pregnancy "by the
    lay user up to four (4) days prior to the expected menses.
                                                               " (Nazareth Dec. $13 and Ex. F)
    C&D's 510(k) submission for FR Analog 5-day included data of clinical testing showing that FR
    Analog 5-day detected hCG in 69% of the urine samples given by pregnant women at 5 days
    before MMP. (Id. $12 and Ex. E at CDSPD0002725 at Table 2A)


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    Universities.     In that study (Sciall Dec. Ex. A), two models    of FR Digital   5-day (provided to

    C&D by different suppliers) were tested. One model detected hCG in 91.7% of the urine

    samples given at 5 days before MMP, and the other model detected hCG in               83.3% of the urine

    samples given at 5 days before MMP. (Id. at $8 at 7, Tables 3         & 4) Dr. Scialli's study also

    tested SPD's Clearblue digital product. The two models           of FR Digital   outperformed        Clearblue

    digital, which SPD advertises as being effective in detecting pregnancy 5 days before MMP. (Id.

    at Table 1) The method for estimating EMP in the study was the same for all products tested.

    (Id. at $8) Since in a truly "apples to apples" test, using the same methodology for each product,

    the FR products outperformed          SPD's Clearblue product in detecting pregnancy 5 days before

    MMP, Dr. Barnhart's criticism of C&D's EMP estimation methodology                  (even   if it   had merit) is

    perforce irrelevant:     if SPD can   make the claim that Clearblue is effective in detecting pregnancy

    5 days before EMP, C&D surely can make the same claim for its 5-day products.

             Dr. Scialli also tested C&D's FR Analog 6-day product. It was found to detect

    pregnancy in     91.5% of the   urine samples given at 6 days before MMP. (Id. at 8, Table 2)

    The Advertising        Statements Challenged By SPD

             As noted, SPD's main attack in this litigation is to challenge C&D's right to make any

    statement that FR Digital 5-day is effective in detecting pregnancy 5 days before MMP and that

    FR Analog 6-day is effective      in detecting pregnancy     6 days before MMP (which are the uses for

    which the FDA cleared those products).         However, SPD also challenges a number               of specific

    advertising     statements for those products, as well certain statements    for FR Analog 5-day and the

    FR analog home ovulation test.

             In its Complaint in the First Action, SPD challenged as false not only the Accurate

    Digital Results statement on the FR Digital 5-day package, but also the statement on the side-

    panel   of the package   that "in clinical testing,   FR    detected [hCG] in 58% of women for days


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    before their expected period. . . .    " (Dkt No.      1   $43) SPD claimed that this statement is false

    because, allegedly, FR Digital 5-day is not "effective 4 days before a woman's expected period.                   "
    (Id. $44) SPD also challenged as false similar statements made in various other media

    concerning the ability      of FR Digital 5-day to detect        pregnancy 5 days before MMP, and the 58%

    positive detection rate at 5 days before MMP, on the basis that "the claim               of effectiveness '5

    Days sooner' is false.      " (Id. )$46-52)   SPD also challenged as false statements concerning the

    ability   of FR Analog      5-day to detect pregnancy 5 days before MMP. (Id. )$61-63)

              SPD's Complaint also contained a series of allegations concerning C&D's purported

    "History    of False   and Misleading Claims,
                                                     " in which       it alleged that various other C&D

    advertising   statements are false and misleading.           Although   it is not clear from SPD's pleading

    whether it seeks relief with respect to any         of these    challenged statements,   SPD has had its expert,

    Dr. Barnhart, offer opinions on at least two of them, so C&D assumes for purposes of this

    motion that SPD intends to pursue all         of these challenges. They are:

                  ~   The statement that FR home pregnancy tests detect              "a hormone   variant that better
                      predicts early pregnancy.
                                                    "
                                                (Dkt No. 1 fj)27-28)
                  ~   The statement on the package of C&D's analog home ovulation test kit, "Get
                      Pregnant Sooner.    "
                                         (Id. $29; Copies of the product packaging are attached as Ex.
                      F to the Feldman Dec)
                  ~   The statement on the package of C&D's analog home ovulation test kit, "New
                      Technology! Better Predicts Ovulation!" (Id. $30)
                  ~   The statement, "If you just can't wait until your missed period to know if you' re
                      pregnant or not, there's only one test to choose: First Response.   Let us tell you
                            "
                      first. (Id. /[31)
                  ~                   "
                      The "tag line. "Let us tell you first.        " (Id. $32)
                  ~   The internet domain name, "tellsyoufirst. corn.         " (Id. )
                  ~   The purportedly misleading           "connecting"   of the separate       statements   "5    days
                      sooner" and "99% accurate.        " ((Id. $33; see also $64)



     "Dkt No. " refers to the ECF docket for Case No. 09-01802 and "2nd Dkt No. " refers to the
    ECF docket for Case No. 10-00276.


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              In its Counterclaims     in the Second Action,      SPD also challenged the "Tells You statement

    and the Unsurpassed     Accuracy Statement made on the packaging for FR Analog 6 day. (2nd Dkt

    No. 4 )$40-42) (copies of the product packaging are annexed as Ex. E to the Feldman Dec.)

    SPD also challenged several other aspects of C&D's advertising for that product:

                      ~   SPD challenged as false the statements on the package for FR Analog 6-day,
                          "NEW" and "Enhanced Technology. " (2nd Dkt No. 4 $43)
                      ~   SPD alleges that C&D "fails to properly explain that it calculates the day of
                          the missed period by a different method than the rest of the industry calculates
                          that date. " (Id. )
                      ~   SPD alleges that C&D "misleads the public by its knowing omission of an
                          explanation of the difference between the day          of the 'missed period'    and the
                          day of the 'expected period.
                                                       '" (Id. $44)
                      ~   SPD alleges that the "overall import" of C&D's advertising for FR Analog 6-
                                                                                    "
                          day is that the "product is superior to all others, and that "this message is
                          false.   . . ." (Id. $45)

                                                      ARGUMENT

    I.        THE LEGAL STANDARDS GOVERNING THIS MOTION

              A.      The Standards for Summary Judgment

              Fed. R. Civ. P. 56(a) provides that a party may move for summary judgment on any claim

    or defense, or any part of a claim or defense, and that the Court "shall grant summary judgment

    if the   movant shows that there is no genuine dispute as to any material fact and the movant is

    entitled to judgment as a matter      of law. "   Whether a disputed fact is material depends on the

    substantive    law at issue. "Only disputes over facts that might affect the outcome        of the   suit

    under the governing     law will properly preclude the entry        of summary judgment. Factual       disputes

    that are irrelevant or unnecessary      will not be counted.
                                                                    " Anderson   v. Liberty Lobby,   Inc. , 477

    U. S. 242, 248 (1986). Relatedly, a factual dispute is "genuine" only if, resolving that dispute in

    the nonmoving     party's favor,    "a reasonable jury   could return a verdict for the nonmoving      party.
                                                                                                                    "
    Id.



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            Critically, where a plaintiff relies on expert testimony to establish an essential element                 of

    its case, summary judgment must be granted in favor            of the   defendant   if that   testimony is

    excluded under Daubert and Rule 702. See, e.g. , Heller v. Shaw Indus. , Inc. , 167 F.3d 146, 151

    (3d Cir. 1999); Kolokowsk       v. Crown    Equip. Corp. , No. 05-4257, 2009 WL 2857957, at *4

    (D.N. J. Aug. 27, 2009); Perry     v. Novartis Pharms. Corp. ,      564 F. Supp. 2d 452, 473 (E.D. Pa.

    2008); AstraZeneca LP     v. TAP Pharms. ProCk. ,     444 F. Supp. 2d 278, 292-293 (D. Del 2006).

            B.       The Elements of a Lanham Act False Advertising Cause of Action

            Liability under the Lanham Act can arise       if an   advertising    statement       "is either (1) literally

    false or (2) literally true or ambiguous,     but has the tendency to deceive consumers.
                                                                                                         " Novartis
    Consumer Health, Inc. v. Johnson       ck   Johnson-Merck Consumer Pharms. Co., 290 F.3d 578, 586

    (3d Cir. 2002); Bracco Diagnostics, Inc.       v. Amersham      Health, Inc. , 627    F. Supp. 2d 384, 463

    (D.N. J. 2009) (Wolfson, J.). A literal claim is one that communicates an unambiguous                       message;

    in other words, a message that can reasonably        be interpreted to mean only one thing. See, e.g. ,

    Bracco, 627 F. Supp. 2d at 465; Novartis, 290 F.3d at 586-587. In analyzing whether a claim is

    a literal claim (and also whether it is false), it is essential that the challenged advertising

    statement be considered in the full context in which it appears, because taking a sentence or

    phrase out   of context often   materially changes its meaning.         Castrol, Inc. v. Pennzoil Co. , 987

    F.2d 939, 946 (3d Cir. 1993) ("in assessing whether          an advertisement       is literally false, a court

    must analyze the message conveyed in full context"); Johnson ck Johnson-Merck                       Consumer

    Pharms. Co. v. Rhone-Poulenc Rorer Pharms. , 19 F.3d 125, 129 (3d Cir. 1994) ("A

      In addition to proving the existence of a false or misleading statement, the plaintiff must also
    prove that (1) the false or misleading statement actually deceived or has a tendency to deceive a
    substantial segment of the audience for that statement; (2) the deception is material, in that it is
    likely to influence purchasing decisions; (3) the defendant caused the false statement to enter
    interstate commerce; and (4) the plaintiff has been or is likely to be injured as a result of the
    deceptive statement. See Johnson ck Johnson-Merck Consumer Pharms. Co. v. Rhone-Poulenc
    Rorer Pharms. , 19 F.3d 125, 129 (3d Cir. 1994); Bracco, 627 F. Supp. 2d at 454.


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    determination      of literal   falsity rests on an analysis    of the message    in   context"). If a claim is

    found by the court to be a literal claim, then it is for the finder           of fact to   determine whether or not

    it is false without reference to how the consuming              public understands       the message. Id. at 129.

             Importantly,     it has long been the law in the Third Circuit that, where an advertiser makes

    a literal statement about product performance, the plaintiff s burden is to prove that the statement

    is affirmatively    untrue, not merely that it is inadequately          substantiated.     Sandoz Pharms. Corp. v.

    RicharCkon- Vicks, Inc. , 902        F.2d 222, 228 (3d Cir. 1990) ("a Lanham Act plaintiff bears             the

    burden   of showing      that a challenged advertisement         is false or misleading,     not merely that it is

    unsubstantiated       by acceptable tests or other proof').

             If a court    determines that an advertising      statement is literally true or ambiguous,        a

    plaintiff cannot prevail on a theory that the statement is deceptive or misleading without

    evidence   of what     consumers actually understand           the statement to communicate.        This almost

    always requires consumer survey evidence. Johnson                  Ck   Johnson-Merck Consumev Pharms. Co.,

    19 F.3d at 129-30 ("If a plaintiff does not prove the claim to be literally false, he must prove that

    it is deceptive or misleading,        which depends on the message that is conveyed to consumers.                  ...

    [T]he success of the claim usually turns on the persuasiveness                of a consumer survey");      Sandoz,

    902 F.2d at 228-29 (if advertisements           are not literally false, plaintiff "cannot obtain relief by

    arguing how consumers could react; it must show how consumers actually do react").

             C.        SPD's State Law Claims

             SPD's pleadings also allege false advertising in violation of New Jersey law (in the

    Second Action) and California law (in the First Action). The elements of SPD's state law claims

    for relief are identical to the elements        of SPD's   Lanham Act claims and, for purposes           of this

    motion, are to be decided as the Lanham Act claims are decided. See, e.g. , Bracco Diagnostics,




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    613 F. Supp. 2d at 454; Buying for the Home, LLC v. Humble Abode, LLC, 459 F. Supp. 2d 310,

    317-18 (D.N. J. 2006); Rice     v.   Fox Broad. Co. , 330 F.3d 1170, 1181-82 (9th Cir. 2003).

    II.       CdkD IS ENTITLED TO SUMMARY JUDGMENT ON SPD'S CHALLENGE TO
              ITS RIGHT TO MAKE THE 6-DAY AND 5-DAY STATEMENTS
              SPD's challenge to the statements that FR Digital 5-day and FR Analog 5-day are

    effective at detecting pregnancy 5 days before MMP, as well as its challenge to C&D's right to

    advertise FR Analog 6-day as being capable           of detecting   pregnancy 6 days before MMP, fail for

    two reasons. First, as discussed more fully in the accompanying            Daubert motion, they are all

    premised on (a) Dr. Barnhart's opinion that C&D miscalculates the day              of EMP     and (b) the

    results   of SPD clinical   testing that did not use C&D's EMP estimation method.             As is detailed in

    the Daubert motion, Dr. Barnhart's opinions are not admissible.            Thus, SPD has no admissible

    evidence that Church & Dwight's method for estimating EMP is unreasonable.                    Nor,

    accordingly, is there any basis for SPD to challenge the results         of C&D's clinical     testing using

    that method by pointing to tests it conducted using a different method.

              Second, where the FDA has cleared a product to be marketed for a particular intended use

    or with particular labeling, courts hearing Lanham Act suits based on the allegation that the

    product is not effective for that use, or that label statements cleared by the FDA are false, have

    declined to reconsider the FDA's determinations           and dismissed the Lanham Act challenges.            As

    some courts have held, second-guessing           FDA decision making would be inconsistent with the

    fact that "no private right   of action exists to redress    alleged violations   of the FDCA [federal

    Food, Drug, and Cosmetics Act], " the enforcement of which "lies exclusively within the federal

    government's     domain, by way      of either   the FDA or the Department    of Justice. "   Summit Tech. v.

    High-Line Med. Instruments       Co. , 922 F. Supp. 299, 305 (C.D. Cal. 1996). In Summit, the court

    declined to substitute its judgment for FDA's and held that plaintiff s false advertising            claim,



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    which was "essentially a claim under the FDCA,                " failed   as a matter   of law because "[p]laintiff       s

    Lanham Act cause       of action would. . . usurp[]          the FDA's discretionary      role in the application

    and interpretation    of its   regulations.   " See id. at 305-06 (internal      quotes omitted).

            Other courts have similarly held that a plaintiff cannot ask a court, in the guise                  of a
    Lanham Act claim, to countermand              the findings    of the FDA.     In Wyeth v. Sun Pharm. Indus. ,

    Ltd. , No. 09-11726, 2010 U. S. Dist. LEXIS 18180, at                *18 (E.D. Mich. Mar. 2, 2010), the

    manufacturer   of a brand      name drug sued a competitor under the Lanham Act and state law,

    alleging that defendant falsely marketed its FDA-approved                  drug as the "generic equivalent" to

    plaintiff's brand-named        product. The court, noting that the FDA had made a determination                     of

    generic equivalency     when it approved the drug, dismissed the complaint on the ground that it

    encroached on the FDA's regulatory authority.                The court held (id. at     *18):

            Plaintiff has not pointed to any statement or advertisement that does not directly
            implicate the FDA's equivalency determination.      Allowing Plaintiff's complaint
            to proceed necessarily questions the validity of the FDA' decisions. Therefore,
            the Court declines to entertain Plaintiff's generic-equivalency  challenges under
            the Lanham Act.
            Likewise, in Cytyc Corp. v. Neuromedical                  Systems, 12 F. Supp. 2d 296, 301       (S.D.N. Y.

    1998), the court held that advertising claims "that comport substantively                  with statements

    approved as accurate by the FDA cannot supply the basis" for Lanham Act false advertising

    claims. Specifically, the court observed (id. ) that:

            [m]any of [counterclaim-defendant's]       statements that [counterclaim-plaintiff]
            claims are false or misleading are, in fact, consistent with the substantive claims
            approved by the FDA. . . . Although [counterclaim-defendant's]      statements do not
            correspond precisely to statements that the FDA has approved, the challenged
            statements discussed above are similar enough to the approved statements for the
            Court to conclude, as a matter of law, that they are neither false nor misleading.

            Similarly, in Smithkline Beecham Consumer Healthcare,                    I..P. v. Johnson   ck   Johnson-

   Merck Consumer Pharms. Co. , Nos. 95-7011 (HB), 95-7688 (HB), 1996 WL 280810, at *7




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    (S.D.N. Y. May 24, 1996), the           court denied an injunction and declined to review advertising

    stating that defendant's    product "prevents heartburn        in half the time"   of plaintiff's product.

    Although the FDA had not approved that specific statement,              it had approved the label directions

    that were the basis for it   —namely        that plaintiff's product should be taken    1   hour before eating

    and defendant's     product should be taken 30 minutes before eating. See id. at             *7. The    court held

    (id. at   *13):

              FDA, after careful analysis of the studies and the proposed packaging, returned
              to the manufacturers the approved labeling for each product. Each of the claims
              [plaintiff] challenges is based on the package labelling [sic] approved by the
              FDA for both drugs. Although it is clear that the FDA did not determine on its
              own volition that [plaintiff s product] must be taken one hour prior to a meal to
              be effective in reducing the symptoms of heartburn, the FDA presumably relied
              on the studies which support this claim when it approved package labelling [sic]
              for [plaintiff's product]. Accordingly, for this Court to now state that [plaintiff]
              can advertise that [its product] begins to relieve the symptoms when taken 30
              minutes prior to a meal, or conversely, to enjoin [defendant] from claiming that
              [defendant's product] works faster than [plaintiffs product] on the basis of
              package labelling [sic], would substitute this Court's discretion for that of the
              FDA in approving package labelling [sic] for over-the-counter medications.

    See also Rita Med. Sys. , Inc.     v.   Resect Med. , Inc. , No. C 05-03291 (WHA), 2006 WL 2038328,

    at   *3-4 (N. D. Cal. July 17, 2006) ("the Lanham Act cannot be used as a circuitous route to

    challenge determinations      of the FDA. . . [T]his Court        would not be able to consider a claim as

    to the veracity of [defendant's advertisements]          without unduly converting the Lanham Act claim

    into a review     of an FDA action. Such        an analysis is not permitted").

              Here, it is undisputed   that the FDA cleared FR Analog 6-day for the intended use               of

    detecting "the pregnancy hormone (hCG), in some cases, as early as 6 days before the missed

    period (5 days before the expected period).         " (Nazareth   Dec. Ex. I)(emphasis added). Similarly,

    the FDA cleared FR Digital 5-day (and FR Analog 5-day) for the intended use                   of the "early

    detection   of pregnancy   by the lay user up to five (5) days sooner than the day           of the   missed

    period (four (4) days before the day of the expected period).          " (Id. Exs. H and     F) (emphasis


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    added). Thus, by arguing that any statement that FR Analog 6-day can detect pregnancy 6 days

    before MMP is false, and by arguing that any statement that FR Digital 5-day and FR Analog 5-

    day can detect pregnancy 5 days before MMP is false, SPD is asking this Court to second-guess

    the FDA's clearance      of the   products for their specific intended uses. The cases do not permit

    this.   "
    III.        C&D IS ENTITLED TO SUMMARY JUDGMENT ON SPD'S CHALLENGE TO
                THE TELLS YOU AND ACCURATE DIGITAL RESULTS STATEMENTS

                SPD contended in the preliminary     injunction phase   of this   litigation that the Tells You

    statement is a literal statement that FR Analog 6-day will tell a woman with "certainty" whether

    she is pregnant 6 days before MMP. That argument           is baseless, as SPD implicitly recognized by

    commissioning       the Ericksen survey.    Obviously, the word "certainty" is nowhere mentioned in



       We anticipate that in opposition to this motion SPD will argue that the urines used in the
    clinical testing submitted to FDA were somehow compromised, rendering the results of the
    testing unreliable. That argument is disingenuous in the extreme. Some of the test urines were
    supplied to C&D by The University of New Mexico ("UNM"), pursuant to a contract between
    UNM and C&D. Under that contract, UNM collected urines from women and supplied a portion
    of the collected samples to C&D for use in its clinical testing. The UMN official in charge of
    this project was Professor Lawrence Cole, although the evidence is unequivocal that he had no
    day-to-day involvement with the collection of the urines or supplying the urine samples to C&D.
    SPD used the discovery process in this litigation to pursue a vendetta against Dr. Cole, who had
    been a consultant for SPD's corporate predecessor and has more recently consulted for C&D.
    SPD will no doubt point to an "investigation" of Dr. Cole by UNM which, SPD contends,
    supposedly concluded that urine samples stored in a laboratory run by Dr. Cole were "unfit for
    research purposes" (in truth, there was no such conclusion by UNM). The short answer to this
    attack is that the forum for SPD's allegations about the fitness of the urine samples provided to
    C&D by UNM is the FDA —which found the results of clinical testing of those urines to be
    sufficient to clear the products at issue to be marketed for their intended use —not this Court. In
    any event, the purported results of the UNM investigation are inadmissible hearsay (in some
    cases double hearsay, or worse). Moreover, SPD will be unable to offer any evidence —because
    there is none —that the UNM investigation concerned or involves any findings about the
    scientific fitness of the urines used by C&D. In short, SPD's allegations about Dr. Cole and the
    UNM investigation are the quintessential "red herring"; they do not raise a triable issue of fact or
    otherwise have any relevance to this litigation. And, even if they had any relevance, they would
    not be affirmative evidence of falsity, but rather only an attack on the adequacy of C&D's
    substantiation which is not sufficient to meet SPD's burden.



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    the Tells You statement, or elsewhere on the product package. Moreover, the undeniable

    purpose     of any    pregnancy test is to tell a woman whether she is pregnant.            And, it is also

    undeniable       that FR Analog 6-day is the only product that the FDA has cleared for the intended

    use    of detecting    pregnancy as early as 6 days before MMP. Thus, an entirely reasonable

    interpretation      of the Tells You    statement is that the FR Analog 6-day is the only product that a

    woman can purchase for the purpose            of learning    whether she is pregnant 6 days before MMP.

              Further, as noted in Point I.B, supra, the meaning and truthfulness               of the Tells You

    statement must be assessed by reviewing the statement in its full context and not, as SPD would

    have it, by tearing that statement from the FR Analog 6-day package and analyzing                     it in a

    vacuum.         Far from telling women that they will know with "certainty" whether or not they are

    pregnant 6 days before MMP, the side panel                of the package (to which   woman are directed at the

    end    of the   Tells You statement) states, explicitly, that     "[i]n one   study, in   68% of the samples

    tested, pregnancy could be detected up to 6 days before the day                of the missed period"    and that

    "[t]he test may detect the pregnancy hormone (hCG), in some cases, as early as 6 days before the

    missed period.       " (Feldman    Dec. Ex. E)(emphasis added). The package then goes on to explain

    that even       if a woman   gets a negative result 6 days before MMP, it is still possible that she is

    pregnant:       "Important note regarding negative results: Some pregnant women will not be able to

    detect hCG in their urine 6 days before the missed period.              If you   test negative before your

    missed period, but think you may still be pregnant, you should retest again a few days after your

    missed period.       " (emphasis   added). The package also makes clear that it is possible for there to be

    false positive results as well, stating: "Important note regarding positive results: Because this test

    detects very low levels       of hCG,   there is a small chance that this test will give positive results

    even    if you    are not pregnant.   Chances   of this    are greater for women nearing age 40 and older.




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    All results should be confirmed by your healthcare provider, especially when making decisions

    about future medical care.      "
             Because the Tells You statement does not literally communicate the message alleged by

    SPD, it must proffer consumer survey evidence. Johnson              ck   Johnson, 19 F.3d at 129-30. The

    Ericksen survey, however, is inadmissible           for the reasons discussed in the accompanying

    Daubert motion and, in all events, when properly interpreted dispels any notion that a substantial

    percentage     of consumers     understand    the Tells You statement in the manner claimed by SPD.

             SPD's challenge to the Accurate Digital Results statement as a literal claim of certainty

    (Dkt No. 7 at 16) is meritless for the same reason. The statement does not include the word

    "certain" or say that the results will be "100% accurate" or have "perfect" accuracy. Further, as

    with the Tells You statement, the Accurate Digital Results statement explicitly directs consumers

    to the side panel of the package for the "details. " There consumers are told that in clinical

    testing FR Digital 5-day detected pregnancy 58% of the time 5 days before MMP. (Feldman

    Dec. Ex. B) Because the Accurate Digital Results statement is not a literal statement of perfect

    accuracy, SPD must provide consumer survey evidence supporting                 it. Johnson   I Johnson,   19

    F.3d   at 129-30. As SPD has no such evidence, summary judgment should be awarded to C&D.

    IV.      CAD IS ENTITLED TO SUMMARY JUDGMENT DISMISSING SPD'S
             CHALLENGE TO THE UNSURPASSED ACCURACY STATEMENT

             SPD's argument that the Unsurpassed Accuracy statement is literally false is far from

    clear. In its withdrawn       preliminary    injunction motion, SPD contended that it literally referred to

    accuracy on the day     of EMP.      (2nd Dkt No. 42 at 11) But that argument is absurd when the

    Unsurpassed     Accuracy statement is viewed in the context of the package on which it is made.

    The FR Analog 6-day package does not say a word about how the product performs on the day

    of EMP.      In the context   of that package,   which only addresses the product's performance       6 days



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    before MMP, any argument that the Unsurpassed              Accuracy statement unambiguously

    communicates     how the product performs on the day          ofEMP     is baseless.    SPD has offered no

    consumer survey evidence to support this interpretation.

            SPD's latest argument, courtesy of Dr. Barnhart, is that C&D has not proven that the

    accuracy of FR Analog 6-day at the 6 days before MMP time point is unsurpassed                        by other

    products.    Dr. Barnhart says that the clinical testing referenced on the side panel of the FR

    Analog 6-day package is a sensitivity study as opposed to an accuracy study, and that the latter

    also requires that one take into account the rate        of false positive results.

            This argument is wrong, and misconceives SPD's burden                of proof. FR Analog          is,

    indisputably,   the only product FDA has cleared for the intended use             of detecting   pregnancy as

    early as 6 days before MMP. That alone is sufficient to enable C&D to claim unsurpassed

    accuracy 6 days before MMP. In any event, SPD can only prevail by proving the Unsurpassed

    Accuracy statement to be affirmatively           false, not merely inadequately      substantiated.     (See Point

    I.B, supra. ) Thus, SPD would       have to demonstrate       that another product is more accurate than

    FR Analog 6-day at the 6 days before MMP time point. SPD has no such evidence.

    V.      CdkDIS ENTITLED TO SUMMARY JUDGMENT ON SPD'S CHALLENGE TO
            THE STATEMENT THAT THE FR PRODUCTS "DETECT A HORMONE
            VARIANT THAT BETTER PREDICTS EARLY PREGNANCY"

            As for SPD's challenge to the statement that the FR pregnancy tests detect                    "a hormone

    variant that better predicts early pregnancy,
                                                         " SPD alleges   only that it   "is unsubstantiated     (and in

    fact is incapable of substantiation).   " (Dkt No. $27)       The hormone variant in question is known

    as hyperglycosylated      hCG ("HhCG"). In his expert reports, Dr. Barnhart does not allege that the

    statement is false, but argues only that it cannot be substantiated.          Again, a plaintiff cannot meet

    its burden   of proof   merely by arguing that an advertising        statement lacks adequate substantiation.

    Sandoz, 902 F.2d at 228. In none        of his   expert reports did Dr. Barnhart contend that the


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    challenged statement is actually false. Indeed, during his deposition he declined to opine that (a)

    HhCG does not exist in early pregnancy (Vinti Dec. Ex. 15 at 376-377)) or (b) the FR pregnancy

    test kits do not detect HhCG in urine (id. 377-379). And, in any event, there is substantiation               for

    this advertising    statement     —scientific proof   shows that the FR pregnancy tests do detect HhCG

    and that HhCG is prevalent         in early pregnancy    urines. (Gronowski Dec. /$8-12)

            Presumably,      Dr. Barnhart's opinions on this point were purposefully         crafted to invoke the

    Third Circuit's holding in Novartis, 290         F.3d at 590, that "a court may find that a completely

    unsubstantiated     advertising    claim by the defendant is per se false without additional evidence

    from the plaintiff to that effect.    " The key,   as Novartis makes clear, is that there be absolutely no

    substantiation     for the challenged advertising statement.       See, e.g. , Pharmacia Corp. v.

    GlaxoSmithKline       Consumer Healthcare, L.P. , 292 F. Supp. 3d 594, 607 (D.N. J. 2003) (relying on

    Novartis and stating that defendant had "not one scintilla          of evidence to support"     the challenged

    advertising    claim). Here, as noted, there exists evidence substantiating         the challenged statement.

    Just because Dr. Barnhart disagrees that the substantiation           is scientifically valid neither renders

    the statement "completely unsubstantiated"            nor satisfies SPD's burden to prove that it is false.

    VI.     CdkD      IS ENTITLED TO SUMMARY JUDGMENT ON SPD'S OTHER
            CHALLENGES TO NON-LITERAL ADVERTISING STATEMENTS

            All   of the other    statements about CAD's home pregnancy and ovulation products

    challenged by SPD are either not literal statements           of product   performance (and in no case does

    SPD have the required consumer survey evidence) or are non-actionable                puffery:

            ~          SPD challenges the statement "Get Pregnant Sooner" for the FR analog home

    ovulation test, which it says is "unsubstantiated.        " (Dkt No.   1   $29) Here again, SPD cannot meet

    its burden    of proof by    arguing that there is not sufficient substantiation.    Sandoz, 902 F.2d at

    228-29.



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            SPD also calls on Dr. Barnhart to support this challenge.   " Although,        he does not

    contend that the product is ineffective in detecting the likely time   of ovulation,    he (and thus

    SPD) nonetheless complain that:

            "Get Pregnant Sooner" "implie~ that C&D's. . . test does more than point to the
            best days to have intercourse in order to conceive. It implies that C&D's product
            will somehow biologically enhance a woman's physical ability to conceive.                This
            is simply not the case, with C&D's home ovulation test or any other.

    (Vinti Dec. Ex. 12 at 37)(emphasis added). As Dr. Barnhart (and thus SPD) concede in the

    above-quoted   language, the allegedly false message is not literally stated, but only "implied.
                                                                                                            "
    SPD needs a consumer survey to prove the claimed implied communication.                Johnson    &f



    Johnson. Co. , 19 F.3d at 129-30. It does not have one.

            ~       SPD challenges the statements "NEW" and "Enhanced Technology" for FR

    Analog 6-day, which SPD alleges are "falsely" made (2nd Dkt No. 4 $43)). This appears to be a

    reference to the product packaging, which when the product was launched bore a banner that

    reads "NEW" and a separate banner that reads "Enhanced Technology.          " (Feldman      Dec. Ex. E)

    Similarly, SPD challenges the statements "New Technology!" and "Better Predicts Ovulation,                  "
    which were made on the FR home ovulation test. (2nd Dkt No. 4 $30) SPD alleges these

    statements about the ovulation test are false because the technology is not "new" and "the

    statement claims superiority that is unsubstantiated.   " (Id. )
           The fact is that, as is detailed in Dr. Nazareth's   accompanying   declaration, FR Analog 6-

    day is a "new" product with "enhanced" technology as compared to previously-marketed



    " The discussion    of ovulation tests in his expert report actually shows why the challenged
    statement is substantiated. As Dr. Barnhart explains (Vinti Dec. Ex. 12 at 37): a home ovulation
    test "informs a woman" as to when she is likely to ovulate, "and intercourse during this time will
                                          "
    optimize her chances of conception. (emphasis added). Thus, a woman who uses a home
    ovulation test to time when she has intercourse is, as a matter of biology and simple logic, likely
    to "get pregnant sooner" than a woman who does not use a home ovulation test for that purpose.


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    products.     (Nazareth Dec. $17) SPD thus cannot meet its burden               of proving falsity. Likewise,

    the technology referenced on the FR analog ovulation test kit package was also "new" (Nazareth

    Dec. $39) and SPD has no evidence to the contrary. Finally, "Better Predicts Ovulation" is not a

    literal claim    of superiority     in comparison    to competing products.      (An example    of a literal

    superiority     statement would be "Predicts Ovulation Better Than Clearblue.             ")   Rather, to the

    extent there is any comparative message at all, it is to the prior version            of the FR product,           and

    that comparison      is truthful.     (1d. ) To prove that any other message is communicated,          SPD needs

    a survey (Johnson       4 Johnson.      Co., 19 F.3d at 129-30) and it does not have one.

            ~          SPD challenges the statement,           "Ifyou just   can't wait until your missed period to

    know   if you'   re pregnant or not, there's only one test to choose: First Response.               Let us tell you

    first" (which SPD characterizes as an "explicit superiority claim" that, it says, is "flatly false"

    because FR is not the only brand "that detects pregnancy prior to" MMP) (2nd Dkt No. $31). It

    also challenges the "tag line,        " "Let us tell you   first" (which SPD interprets as claiming that FR

    products "predict pregnancy earlier than other products") (id. $32) and the internet domain name,

    "tellsyoufirst. corn" (which SPD alleges "communicates falsely that the FR products are superior

    to other products, including Clearblue Easy, in detecting pregnancy early" ). (Id. )

            To begin with, the          "Ifyou just   can't wait" statement is not a literal claim that FR is the

    only pregnancy test brand capable           of detecting    the pregnancy hormone prior to MMP (the

    statement is not, for example, "only FR can detect pregnancy before the day                of a woman'         s

    missed period"). Thus, to prove the implied message argued by SPD, it needs consumer survey

    evidence (Johnson       Ck   Johnson. Co., 19 F.3d at 129-30), and it has none. Moreover, the phrase

    "there's only one test to choose" could be reasonably interpreted as a generalized endorsement of

    FR pregnancy test kits as "the best" among other products that can detect early pregnancy.                          That




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    message constitutes non-actionable             puffery. See Castrol, 987 F.2d at 945           ("Puffery    is an

    exaggeration or overstatement           expressed in broad, vague, and commendatory                 language.   . . [It] is

    distinguishable       from misdescriptions       [sic] or false representations       of specific   characteristics     of a

    product. As such it is not actionable.         ")
              The challenged tag line, "Let us tell you first,            " also does not make     a literal claim of

    superior product performance.            It is, literally,    a request by   CEDED   for consumers to purchase FR

    pregnancy test products.           Again, consumer survey evidence is needed (Johnson & Johnson. Co.,

    19 F.3d at 129-30) and, again, SPD has none.

              Finally, the domain name "tellsyoufirst. corn" does not even identify a particular product

    or type   of product,    much less constitute a literal message             of superiority. Again,    there is no

    consumer survey evidence to support the meaning SPD alleges.

              ~          SPD complains about the purported "connection" of 5-days and 6-days sooner

    statements with statements           of 99 lo accuracy       on the day    of EMP,   which SPD alleges "leads

    consumers to the false conclusion that the product is 99/o accurate" prior to the day                      of EMP.

    (Dkt No.      1   $33; see also 2nd Dkt No. $38). In no case, however, has CAD made a literal

    statement that any       of its   pregnancy test products are 99'ro accurate prior to the day            of EMP; SPD

    can point to no advertising where a statement                 of 99 lo accuracy   is stated to be or depicted as

    being at a point in time before the day           of EMP.        Thus, this challenge is to a purported implied

    message for which SPD has no survey evidence.

              ~          SPD complains about Church & Dwight's purported "failure" "to properly

    explain that "CAD calculates the day             of the      missed period by a different method than the rest           of

    the industry calculates that date" (2nd Dkt No. $44) and the purported "knowing omission" on

    the FR Analog 6-day product package               of an      explanation   of the difference   between the day        of the



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    'missed period' and the day   of the 'expected period.   '"    (Id. ) As is obvious, these challenges do
                                                                                             '
    not involve any statement at all, but rather allegations      of misleading omissions.       There is no

    survey evidence to support SPD's allegations     of deception.

                                               CONCLUSION

            For the reasons discussed herein and in C&D's accompanying                Daubert motion, C&D

    respectfully requests that the Court grant its motion for summary judgment in full.


    Dated: August 14, 2012                                     /s/John   P. Barr
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       The same is the case for SPD's allegation that the "overall import" of C&D's advertising for
    FR Analog 6-day is that the product "is superior to all others, including Clearblue, " when it is
                                                                                "
    really (according to SPD) "inferior to others, including Clearblue. . . (2nd Dkt No. 4 $45) By
    definition, a challenge about the "overall import" of multiple, separate advertising statements is
    not an allegation that a specific advertising statement is literally false.


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